       Case 1:25-cv-00883-JEB          Document 35        Filed 06/20/25       Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 AMERICAN OVERSIGHT,

        Plaintiff,
               v.                                       Civil Action No. 25-883 (JEB)
 PETE HEGSETH, et al.,

        Defendants.


                                             ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Plaintiff’s [19] Motion for a Preliminary Injunction is GRANTED IN PART and

          DENIED IN PART;

      2. Agency-head Defendants shall promptly notify Acting Archivist Rubio of any Signal

          chats of which they are aware that contain federal records at risk of impending

          deletion, see 44 U.S.C. § 3106(a);

      3. Rubio shall promptly “request the Attorney General to initiate” “an action

          for . . . recovery or other redress” to preserve any at-risk federal records in such chats

          and “notify the Congress when such a request has been made,” id. § 3106(b); and

      4. The Government shall file a status report by June 27, 2025, indicating the steps it has

          taken to comply with this Order.

                                                     /s/ James E. Boasberg
                                                     JAMES E. BOASBERG
                                                     Chief Judge

Date: June 20, 2025

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